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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                   :
A. ELIZABETH KRAFT,                                :
                                                   :
                      Plaintiff,                   :      Civil Action No.: 5:21-CV-5430
                                                   :
              vs.                                  :
                                                   :      JURY TRIAL DEMAND
CITY OF READING and MAYOR EDDIE                    :
MORAN (in his individual capacity only)            :
                    Defendants.                    :



                                           ORDER


       AND NOW, this                 day of                                     , 2022, upon

consideration of the Defendants’ Motion to Compel Plaintiff to Submit to an Independent Medical

Examination, and any response thereto, it is hereby ORDERED and DECREED that Defendants’

Motion is GRANTED and Plaintiff is hereby Ordered to submit to an Independent Medical

Examination by Defendants’ expert.

                                              BY THE COURT:




                                                                                  J.
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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

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A. ELIZABETH KRAFT,                                   :
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                       Plaintiff,                     :       Civil Action No.: 5:21-CV-5430
                                                      :
               vs.                                    :
                                                      :       JURY TRIAL DEMAND
CITY OF READING and MAYOR EDDIE                       :
MORAN (in his individual capacity only)               :
                    Defendants.                       :


    DEFENDANTS, CITY OF READING AND MAYOR EDDIE MORAN’S
MEMORANDUM OF LAW IN SUPPORT OF MOTION TO COMPEL PLAINTIFF TO
       SUBMIT TO AN INDEPENDENT MEDICAL EXAMINATION

       I.      INTRODUCTION

       The instant litigation arises out of Plaintiff’s employment with the City of Reading.

Plaintiff’s Amended Complaint asserts claims of discrimination, sexual harassment, and retaliation

in violation of Plaintiff’s rights under the Fourteenth Amendment of the United States

Constitution, Title VII, and the Pennsylvania Whistleblower Law, allegedly stemming from

Plaintiff’s employment with and termination from Defendant City of Reading. See ECF. No. 12.


       Here, Plaintiff is seeking substantial emotional distress damages in this case resulting from

the alleged harassment and retaliation. In fact, during her deposition Plaintiff testified extensively

concerning her alleged emotional distress and resulting mental health counseling and treatment.

Specifically, Plaintiff testified that she was previously diagnosed with depression and anxiety.

Plaintiff testified that she was prescribed medications to treat the depression/anxiety and that in

November 2021 her medications were increased as a result of her unemployment and filing of the

instant Complaint. (See Exhibit “A” at 36:4-22). Additionally, Plaintiff certified in her answers

to interrogatories that she treated with multiple different medical providers for emotional distress

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as a result of the allegations raised in this litigation. (See Exhibit “B” at number 10). We have

obtained the records from these providers, which confirm that Plaintiff is continuing to treat for

ongoing emotional distress damages.


       Accordingly, Defendants have retained an expert, Dr. Ziv to evaluate Plaintiff’s mental

health condition and claim for severe emotional distress. As part of the evaluation, Dr. Ziv has

requested that Plaintiff submit to an independent medical examination (“IME”). Dr. Ziv has

provided an affidavit in this matter confirming the importance of an IME. (See Exhibit “C”).

Specifically, Dr. Ziv states that “an IME is important because ‘[t]he psychiatrist’s primary

assessment tool is the direct face-to-face interview of the patient. Evaluations based solely on

review of records and interviews of persons close to the patient are inherently limited by a lack of

the patient’s perspective. Furthermore, the clinical interview provides the psychiatrist with a

sample of the patient’s interpersonal behavior and emotional processes,’ which is helpful in

making an assessment and forming professional opinions. American Psychiatric Association,

Practice Guideline for the Psychiatric Evaluation of Adults (2d ed.) at 25.” (See Exhibit “C”).

       Defendants requested that Plaintiff submit to an IME with Dr. Ziv pursuant to Federal Rule

of Civil Procedure 35(a). On June 2, 2022 Plaintiff’s counsel confirmed that Plaintiff will not

voluntarily submit to an IME. Therefore, Defendants now file the instant Motion to Compel

Plaintiff to submit to an independent medical examination.


       II.     Legal Argument

               A.      Standard of Review

       Pursuant to Fed. R. Civ. P. R. 35(a), the Court may order a party to undergo a mental

examination when the party's mental condition is “in controversy” and the movant establishes

“good cause” for the examination. The first part of this two-part inquiry, is to determine whether

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the plaintiff’s mental condition is “in controversy.” A plaintiff can put her condition in

controversy by claiming damages related to it or, alternatively, if the defendant raises it as part of

a defense. See Prather v. Prudential Fox & Roach, Civil Action No. 07-1264, 2008 WL

11431050, at *2 (E.D. Pa. 2008)1; Womack v. Stevens Transp., Inc., 205 F.R.D. 445, 447 (E.D.

Pa. 2001). “Courts have allowed mental examinations in sexual harassment cases where the

plaintiff has alleged ongoing psychological maladies as a result of the alleged harassment.”

Prather, 2008 WL 11431050, at *2.

           To provide further clarity, the Third Circuit held that a party's mental condition is in

controversy “where, in addition to a claim of emotional distress, the case involves one or more of

the following factors:


                   (1) a cause of action for intentional or negligent infliction
                   of emotional distress;

                   (2) an allegation of a specific mental or psychiatric injury or
                   disorder;

                   (3) a claim of unusually severe emotional distress;

                   (4) plaintiff's offer of expert testimony to support a claim
                   of emotional distress; and/or

                   (5) plaintiff's concession that his or her mental condition is ‘in
                   controversy’ within the meaning of Rule 35(a).”

Kuminka v. Atlantic County N.J., 551 F. App'x 27, 29 (3d Cir. 2014) (per curiam)

(quoting Turner v. Imperial Stores, 161 F.R.D. 89, 95 (S.D. Cal. 1995)).

           Once it is determined that a party’s mental condition is “in controversy,” the second part

of the inquiry is to determine whether the movant has established “good cause” for the IME.

When determining whether the movant has established good cause to compel a mental


1
    Attached hereto as Exhibit “D”

                                                      3
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examination, the Court must weigh the relevance of the information sought, the need to

“preserve the equal footing of the parties” with respect to their ability to evaluate one party's

mental condition, and the availability of such information from other sources. Womack v.

Stevens Transport, Inc., 205 F.R.D. 445, 446-47 (E.D. Pa. 2001) (quotation omitted).

Consequently, a motion to compel an examination pursuant to Rule 35 “requires a fact intensive

analysis.” McLaughlin v. Atlantic City, Civ. A. No. 05-2263, 2007 WL 1108527, at *2 (D.N.J.

Apr. 10, 2007)2. See also Schlagenhauf v. Holder, 379 U.S. 104 (1964)(“Rule 35, therefore,

requires discriminating application by the trial judge, who must decide, as an initial matter in

every case, whether the party requesting a mental or physical examination or examinations has

adequately demonstrated the existence of the Rule's requirements of ‘in controversy’ and ‘good

cause.’ ”); Conforti v. St. Joseph's Healthcare Sys., Inc., Civ. A. No. 17-50, 2020 WL 365100, at

*3 (D.N.J. Jan. 22, 2020)3. The decision whether to compel a party to undergo an IME rests

within the sound discretion of the Court. McLaughlin, 2007 WL 1108527, at *2.

           Here, Plaintiff has placed her mental health in controversy by: (1) alleging ongoing

mental health treatment with various medical providers; (2) claiming unusually severe emotional

distress. The Defendants have, in turn, demonstrated good cause for the IME, as Plaintiff’s

emotional distress damages are the primary source of her damages and she has indicated that she

intends to offer the testimony of her treating physicians to support those alleged damages. As

such, in order to effectively evaluate and defend against this claim, the Defendants must be given

the opportunity to conduct an IME.




2
    Attached hereto as Exhibit E
3
    Attached hereto as Exhibit F

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                 B.       Plaintiff Must Be Compelled to Submit to an Independent Medical
                          Examination

                          1.     Plaintiff’s Mental Health is in Controversy

        Here, Plaintiff has placed her mental health in controversy by: (1) alleging ongoing

mental health treatment of a specific psychiatric disorder with various medical providers; and (2)

claiming unusually severe emotional distress. In a similar case, Gross-Quatrone v. Mizdol, No.

CV1713111JXNLDW, 2022 WL 254544, at *2 (D.N.J. Jan. 27, 2022)4, the Court found that

Plaintiff put her mental condition in controversy by pleading a claim of unusually

severe emotional distress. Specifically, the plaintiff characterized her

alleged emotional distress as “severe” in the Complaint and stated in responses to discovery that

she was seeking damages for emotional distress manifesting in a litany of injuries including

“severe” nosebleeds, “extreme anxiety,” and the degradation of her physical and mental

condition. Id. at *3. Ultimately, the Court compelled Plaintiff to submit to an IME, despite her

assertion that was merely seeking “garden variety emotional distress damages.” The Court in

Gross-Quatrone reasoned that because Plaintiff was seeking extensive emotional distress

damages and menial economic damages and sought to introduce evidence from her treating

physicians of her ongoing emotional distress mental health treatment, Plaintiff had, in fact,

placed her mental health in-issue. Id. See also Bird v. Borough of Moosic, Civ. A. No 18-2289,

2020 WL 1904454, at *2-3 (M.D. Pa. Apr. 17, 2020)5 (plaintiff put mental condition in

controversy by testifying at deposition that she was diagnosed with PTSD and suffered “extreme

anxiety” requiring therapy and hospital visits); Dibrito v. Harrisburg Area Cmty. Coll., Civ. A.

No. 08-2308, 2010 WL 936236, at *1 n.4 (M.D. Pa. Mar. 12, 2010)6 (plaintiff put mental


4
  Attached hereto as Exhibit G
5
  Attached hereto as Exhibit H
6
  Attached hereto as Exhibit I

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condition in controversy by alleging that her emotional distress was ongoing and accompanied

by physical manifestations that aggravated her Lyme disease).

       Here, similar to the cases cited above, Plaintiff has placed her mental health in

controversy by testifying that she was diagnosed with depression, anxiety and panic attacks.

Plaintiff testified that she has been prescribed medication to treat the disorders. In fact, Plaintiff

testified that during the relevant time period of her employment with the City of Reading she

continued treating for her mental health conditions and her medication dosage was increased.

(See Exhibit “A” at 32:7-37:15 and Exhibit “B” at number 10). Plaintiff testified that as a result

of the alleged actions of Defendants, Plaintiff was unable to sleep and suffered panic attacks.

(See Exhibit “A” at 238:1-12). Additionally, Plaintiff testified that the emotional distress was so

severe that she has actually made the decision to leave the practice of law. (See Exhibit “A” at

239:18-240:4). Certainly, these allegations are more than “garden variety emotional distress.”

Consequently, under Kuminka v. Atlantic County N.J., 551 F. App'x 27, 29 (3d Cir. 2014),

Plaintiff has placed her mental health in controversy.

                       2.      Defendants’ Have established Good Cause

       Defendants have established good cause for the IME. First, Plaintiff's

alleged emotional distress is the primary source of her damages and Plaintiff has indicated that

she intends to offer the testimony of her treating physicians as well as her own testimony to

support those alleged damages. Counsel agreed at oral argument that a jury would be free to rely

on such fact witness testimony to award plaintiff compensatory damages for

severe emotional distress. Second, Defendants must be given the opportunity to defend and

challenge Plaintiff’s claims through the use of an expert.

       Fundamental fairness demands that defendants equally be allowed to inquire into the

cause and extent of plaintiff's complex web of physical and mental symptoms with the assistance
                                                   6
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of a qualified expert. See Ornelas v. Southern Tire Mart, LLC, 292 F.R.D. 388, 392 (S.D. Tex.

2013) (“Even where a plaintiff chooses to forgo the use of an expert, courts have found that a

defendant should not be compelled to limit its case to mere cross examination, as expert

testimony can be essential to afford a defendant adequate opportunity to challenge the plaintiff's

claim.”); Womack, 205 F.R.D. at 447 (finding good cause for psychiatric IME because defense

would be limited to cross-examination absent ability to develop its own evidence as to causation,

an “insufficient test of truth”). The District Court of New Jersey emphasized that a Court must

not “hamstring the defense by limiting that inquiry to the review of plaintiff's medical records

and depositions of her treating physicians.” Gross-Quatrone v. Mizdol, No.

CV1713111JXNLDW, 2022 WL 254544, at *4 (D.N.J. Jan. 27, 2022).

       The Middle District Court of Pennsylvania decided a similar case, Bird v. Borough of

Moosic, Civ. A. No 18-2289, 2020 WL 1904454, at *2-3 (M.D. Pa. Apr. 17, 2020), finding that

the plaintiff put her mental condition in controversy by testifying at her deposition that she was

diagnosed with PTSD and suffered “extreme anxiety” requiring therapy and hospital visits. The

Court reasoned,

               “[i]t would be unfair to allow a plaintiff to plead
               a garden variety emotional distress claim, and then allow him or
               her to amplify that claim at trial with testimony regarding extreme
               anxiety and a formal diagnosis [of a mental disorder] without
               permitting the defense to conduct a mental health examination.”

Bird, 2020 WL 1904454, at *3.

       Similarly, here Plaintiff has placed her mental condition “in controversy” for the reasons

expressed in more detail above. Additionally, Defendants have established “good cause” exists to

submit Plaintiff for the IME. First, Plaintiff's alleged emotional distress is the primary source of

her damages and Plaintiff has indicated that she intends to offer the testimony of her treating

physicians as well as her own testimony to support those alleged damages. Second, Defendants

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must be given the opportunity to defend and challenge Plaintiff’s claims through the use of an

expert. See Bird, 2020 WL 1904454, at *3; Womack, 205 F.R.D. at 447; and Gross-Quatron,

2022 WL 254544, at *4. As articulated by Defendants’ expert, Dr. Ziv, “an IME is important

because ‘[t]he psychiatrist’s primary assessment tool is the direct face-to-face interview of the

patient. Evaluations based solely on review of records and interviews of persons close to the patient

are inherently limited by a lack of the patient’s perspective. Furthermore, the clinical interview

provides the psychiatrist with a sample of the patient’s interpersonal behavior and emotional

processes,’ which is helpful in making an assessment and forming professional opinions. American

Psychiatric Association, Practice Guideline for the Psychiatric Evaluation of Adults (2d ed.) at

25.” (See Exhibit “C”). Should Defendants be precluded from conducting an IME of Plaintiff,

Defendants would be severely prejudiced in the defense of this matter.

       Therefore, Defendants respectfully request that this Court grant the instant Motion,

compelling Plaintiff to submit to an IME with Dr. Ziv.

       III.    CONCLUSION

       Based on the foregoing, Defendants respectfully request that this Court grant the instant

Motion, compelling Plaintiff to submit to an IME with Dr. Ziv.


                                                      MARSHALL DENNEHEY WARNER
                                                      COLEMAN & GOGGIN


                                              BY:
                                                      JOHN P. GONZALES, ESQUIRE
                                                      Attorney for Defendants
                                                      City of Reading and Mayor Eddie Moran
Date: August 5, 2022




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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

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                       Plaintiff,                      :
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               vs.                                     :     Civil Action No.: 5:21-CV-5430
                                                       :
CITY OF READING and MAYOR EDDIE                        :
MORAN (in his individual capacity only)                :     JURY TRIAL DEMAND
                    Defendants.                        :


                                    CERTIFICATE OF SERVICE

       I, John P. Gonzales, Esquire, do hereby certify that a true and correct copy of the foregoing

Brief in Support of Motion to Compel Plaintiff to Submit to an Independent Medical Examination

on behalf of Defendants, City of Reading and Mayor Eddie Moran was served upon all counsel of

record by electronic filing on the date below.

                                                       MARSHALL DENNEHEY WARNER
                                                       COLEMAN & GOGGIN


                                                 BY:
                                                       JOHN P. GONZALES, ESQUIRE
                                                       Attorney for Defendants
                                                       City of Reading and Mayor Eddie Moran
Date: August 5, 2022
